Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 1 of 11. PageID #: 4536




 IN THE UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
 EASTERN DIVISION




  ------------------------------------------------------   .
  MASON SHERMAN,                                           :   CASE NO. 5:07 CV 01235
                                                           :            5:05 CR 00131
                                          Petitioner,      :
                                                           :   MEMORANDUM OF OPINION AND
                          -vs-                             :   ORDER DENYING PETITIONER
                                                           :   RELIEF UNDER 28 U.S.C. § 2255.
                                                           :
  UNITED STATES OF AMERICA,                                :
                                                           :
                                       Respondent.         :
  ------------------------------------------------------   :


 UNITED STATES DISTRICT JUDGE LESLEY WELLS




         Pursuant to a written Plea Agreement (“Agreement”), petitioner Mason Sherman

 (“Mr. Sherman”) entered a plea of guilty on 4 April 2006 to an Indictment1 charging him,

 in Count One, with conspiracy to distribute and to possess with intent to distribute


         1
         The thirty-count Indictment named 54 other co-defendants along with Mr.
 Sherman who was named in the conspiracy count of the indictment (Count 1), and in a
 specific distribution count (Count 28).
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 2 of 11. PageID #: 4537




 methylenedioxymethamphetamine (“MDMA” or “Ecstasy”) and, in Count Twenty-eight,

 with distribution of 499 MDMA tablets, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

 846 & 18 U.S.C. § 2. (Case 5:05 CR 00131, Doc. 664). Mr. Sherman was sentenced

 on 1 May 2006 to a period of 70 months imprisonment with the Bureau of Prisons, to be

 followed by three years of supervised release, and a $200.00 special assessment.

 (Docs. 713, 714) The Petitioner did not appeal the judgment.

        Mr. Sherman now seeks to vacate or correct his sentence pursuant to 28 U.S.C.

 § 2255. (Doc. 1: 7 CV 1235; Doc. 1244: 5 CR 131). Specifically, Mr. Sherman

 maintains he received ineffective assistance of counsel when his attorney failed to seek

 either “credit toward,” or a “downward departure” in, his sentence for the 10.5 months

 the Petitioner spent in home confinement as a condition of bail prior to trial. The

 government filed an answer to Mr. Sherman’s petition relying upon arguments of waiver,

 this Court’s previous decision in Clinkscale v. United States, 367 F. Supp 2d 1150 (N.D.

 Ohio 2005), and the ineffective assistance standard established in Strickland v.

 Washington, 466 U.S. 688 (1984). (Doc. 1273: 5 CR 131). Mr. Sherman filed a traverse

 in which he reiterates his position under Strickland. (Doc. 1279). The issue is now ripe

 for consideration.

        For the reasons set forth below, Mr. Sherman’s petition for relief under 28 U.S.C.

 § 2255 will be denied.



                                    Law and Argument

        Section 2255 permits a prisoner in custody under sentence of a federal court to

 move the court that imposed the sentence to vacate, correct, or set aside that sentence,

 on the grounds:
                                              2
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 3 of 11. PageID #: 4538




        the sentence was imposed in violation of the Constitution or laws of the
        United States, or that the court was without jurisdiction to impose such
        sentence, or that the sentence was in excess of the maximum authorized
        by law, or is otherwise subject to collateral attack.

 28 U.S.C. § 2255. The movant has the burden of establishing any claim asserted in the

 petition. See Bowers v. Battles, 568 F.2d 1, 5 (6th Cir. 1977), cert. denied, 436 U.S. 910

 (1978).

        Where a constitutional error is alleged, in order to obtain relief under 28 U.S.C. §

 2255 the record must reflect a constitutional error of such magnitude that it had a

 substantial and injurious effect or influence on the proceedings. See Brecht v.

 Abrahamson, 507 U.S. 619, 637-38 (1993); Watson v. United States, 165 F.3d 486,

 488 (6th Cir. 1999). In order to prevail on a § 2255 motion alleging non-constitutional

 error, a petitioner must show a “fundamental defect in the proceedings which

 necessarily results in a complete miscarriage of justice or an egregious error violative of

 due process.” Riggs v. United States, 209 F.3d 828, 831 (6th Cir.), cert. denied, 531

 U.S. 884 (2000). Thus, “[a] motion brought under § 2255 must allege one of three

 bases as a threshold standard: (1) an error of constitutional magnitude; (2) a sentence

 imposed outside the statutory limits; or (3) an error of fact or law that was so

 fundamental as to render the entire proceeding invalid.” Weinberger v. United States,

 268 F.3d 346, 351 (6th Cir. 2001), cert. denied, 535 U.S. 967.

        Mr. Sherman maintains that his counsel was ineffective and rendered a

 constitutionally defective performance when he “failed to ascertain whether in fact” the

 Petitioner would receive credit for his period of home confinement prior to sentencing,

 between 22 July 2005 and 5 May 2006. (Doc. 1244, p. 5). Mr. Sherman insists that he

 should receive relief under § 2255 because:

                                              3
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 4 of 11. PageID #: 4539




        Counsel should have been aware (1) that Sherman would not receive
        credit from the Bureau of Prisons, (2) that the court had authority to
        reduce his sentence, and (3) therefore Counsel should have advocated a
        reduction of sentence of 10.5 months and (4) thus the sentence may have
        been substantially swayed by the error and (5) the sentence should not be
        maintained due to the error.

 Id.



        Mr. Sherman’s Plea for Relief is not Cognizable under § 2255

        As an initial matter, this Court has previously recognized that it lacks authority,

 under § 2255, to effect sentencing credit for home confinement. In Clinkscale v. United

 States, 367 F. Supp. 2d at 1155, this Court faced a substantially similar argument and

 determined:

        The Attorney General, through the Bureau of Prisons, is vested with the
        authority of calculating any sentencing credits to which a federal
        defendant may be entitled. United States v. Wilson, 503 U.S. 329, 112
        S.Ct. 1351, 117 L.Ed.2d 593 (1992); United States v. Westmoreland, 974
        F.2d 736, 737 (6th Cir.1992). Because challenges to such determinations
        relate to the execution of a sentence, Mr. Clinkscale's claim that he should
        have received credit for time served while under house arrest is not
        cognizable in a 2255 motion. Dorsey v. United States, 53 F.3d 331, 1995
        WL 264442, *2 (6th Cir. May 5, 1995).

 Id. This Court denied Mr. Clinkscale’s § 2255 request for credit for time served under

 home confinement. The instant matter is not distinct from Clinkscale and the Court will,

 accordingly, deny Mr. Sherman’s § 2255 request.



        Express Waiver in Mr. Sherman’s Plea Agreement

        In addition, Mr. Sherman has waived his right to challenge his sentence on direct

 appeal, or collaterally through a post-conviction proceeding such as a Section 2255

 motion. “It is well settled that a defendant in a criminal case may waive ‘any right, even

                                              4
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 5 of 11. PageID #: 4540




 a constitutional right,’ by means of a plea agreement.” United States v. Fleming, 239

 F.3d 761, 763-64 (6th Cir. 2001) (quoting United States v. Ashe, 47 F.3d 770, 775-76 (6th

 Cir. 1995)). “[A] defendant in a criminal case may waive his right to appeal his sentence

 in a valid plea agreement.” United States v. Smith, 344 F.3d 479, 483 (6th Cir. 2003).

       “When a [d]efendant waives his right to appeal his sentence in a valid plea

 agreement, this Court is bound by that agreement and will not review the sentence

 except in limited circumstances.” Smith, 344 F.3d at 483. “For a plea agreement to be

 constitutionally valid, a defendant must have entered into the agreement knowingly and

 voluntarily.” Smith, 344 F.3d at 483.

       In his Plea Agreement, Mr. Sherman expressly waived his rights under 28 U.S.C.

 § 2255 as follows:

       The defendant acknowledges having been advised by counsel of his
       rights, in limited circumstances, to appeal the conviction or sentence in
       this case, including the appeal right conferred by 18 U.S.C. § 3742, and to
       challenge the conviction or sentence collaterally through a post-conviction
       proceeding, including a proceeding under 28 U.S.C. § 2255. The
       defendant expressly waives those rights except that the defendant
       reserves the right to appeal any sentence to the extent it exceeds the
       maximum of the sentencing range determined under the advisory
       sentencing guidelines as contemplated in this plea agreement. The
       defendant further retains the ability to appeal his Criminal History
       Category. Nothing in this paragraph shall act as a bar to the defendant
       perfecting any legal remedies he may otherwise have on appeal or
       collateral attack respecting claims of ineffective assistance of counsel or
       prosecutorial misconduct.

 (Mason Sherman Plea Agreement, ¶ 16).

       Under the specific terms of his plea agreement, and in the context of the present

 § 2255 petition, Mr. Sherman retains only the right to challenge his sentence collaterally

 upon the basis of ineffective assistance of counsel. Unsurprisingly, Mr. Sherman has




                                             5
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 6 of 11. PageID #: 4541




 framed his request that the Court reduce his sentence to reflect his 10.5 months of pre-

 trial home confinement as a claim of ineffective assistance of counsel.



        Ineffective Assistance of Counsel

        Putatively, Mr. Sherman’s §2255 claim rests on allegations of ineffective

 assistance of counsel. (Docs. 1244, 1729). While the Court does not consider the

 substance of Mr. Sherman’s claim – that he should have received a reduction of 10.5

 months at his sentencing hearing – as cognizable under § 2255, the Court will,

 nevertheless, address the merits of the Petitioner’s ineffectiveness claim.

        Criminal defendants are entitled to the assistance of counsel for their defense

 pursuant to the Sixth Amendment of the U.S. Constitution. U.S. Const. amend. VI; see

 also, Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003). A right that is derivative

 of the right to counsel is the right to have effective assistance of counsel. Moss, 323

 F.3d at 454; see also, Strickland v. Washington, 466 U.S. 668, 685-86 (1984). The

 “benchmark of effectiveness ‘must be whether counsel's conduct so undermined the

 proper functioning of the adversarial process that the trial cannot be relied on as having

 produced a just result.’ “ Hofbauer, 228 F.3d 689, 702 (6th Cir. 2000) (quoting Strickland,

 466 U.S. at 686).

        In Hofbauer the Sixth Circuit explained the two-part test for ineffective assistance

 of counsel as described in Strickland:

        First a defendant must show that counsel's performance was ‘deficient,’
        involving ‘errors so serious that counsel was not functioning as the
        ‘counsel’ guaranteed the defendant by the Sixth Amendment.'.... Second,
        even if counsel's performance is deemed deficient, a defendant must
        show that those deficiencies were prejudicial to the defense. To make this
        showing, the defendant must demonstrate that there ‘is a reasonable

                                              6
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 7 of 11. PageID #: 4542




        probability that, but for counsel's unprofessional errors, the result of the
        proceeding would have been different. A reasonable probability is a
        probability sufficient to undermine confidence in the outcome.’

 Hofbauer, 228 F.3d at 702 (quotations omitted). As with any other claim under § 2255 ,

 the burden of proving ineffective assistance of counsel is on the petitioner. Virgin

 Islands v. Nicholas, 759 F.2d 1073, 1081 (3d Cir.1985).

        The Court finds no merit in Mr. Sherman’s petition for relief under section 2255.

 As to the first element of proof in an ineffectiveness claim, Strickland confirms that

 scrutiny of counsel’s performance must be “highly deferential,” evaluating conduct from

 counsel’s perspective at the time of the challenged conduct. Id. at 689. Mr. Sherman

 has failed to establish that his counsel’s representation was unreasonable under the

 prevailing professional norms. See Kimmelman v. Morrison, 477 U.S. 365, 381 (1986).

        The record, instead, indicates the Petitioner’s counsel moved the Court to

 consider, and then to apply, an imprisonment range of between 70 and 87 months

 instead of the advisory imprisonment range of from 78 to 97 months2, as suggested by

 the government. Mr. Sherman’s counsel argued before the Court that the Petitioner’s

 Criminal History Category of three over-represented the seriousness of the defendant’s

 criminal history. The Court agreed with Mr. Sherman’s counsel’s assessment.

 Receiving a sentence of 70 months placed the Petitioner at the lowest end of his

 advisory guideline range.




        2
        Mr. Sherman arrived at the advisory imprisonment range of between 78 to 97
 months after the government moved the Court for a five level substantial assistance
 downward departure, which the Court accepted. That motion moved Mr. Sherman from
 an Offense Level 31 (after acceptance of responsibility) to an Adjusted Offense Level 26
 and Criminal History Category III.

                                               7
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 8 of 11. PageID #: 4543




        Pursuant to Strickland’s second element, the Petitioner has not shown that his

 counsel's performance was so prejudicial as to deprive him of a fair result. Strickland v.

 Washington, 466 U.S. at 687. To establish prejudice, the "defendant must show that

 there is a reasonable probability that, but for counsel's unprofessional errors, the result

 of the proceeding would have been different." Id. at 694. Under Strickland, the Court

 cannot set aside a judgment where the putative error had no effect on the judgment. Id.

 at 691.

        Such is the case here. Mr. Sherman has not demonstrated a reasonable

 probability that, had his attorney sought credit for the Petitioner’s pre-trial home

 confinement, his sentence would have been different. See Weinberger v. United

 States, 268 F.3d 346, 351 (6th Cir. 2001). Pursuant to 18 U.S.C. § 3585(b) the Bureau

 of Prisons computes and applies credit for any time served prior to the start of a

 defendant’s sentence. The sentencing judge neither considers nor applies that credit.

 See United States v. Wilson, 503 U.S. 329 (1992).

        Moreover, courts have recognized that restrictions placed upon a defendant’s

 liberty as a condition of pre-trial bond release do not qualify as official detention for

 which a defendant may garner credit. See Reno v. Koray, 515 U.S. 50, 56-62 (1995)

 (holding that "the time respondent spent at the Volunteers of America community

 treatment center while 'released' on bail pursuant to the Bail Reform Act of 1984 was

 not 'official detention' within the meaning of 18 U.S.C. § 3585(b).”); United States v.

 Becak, 954 F.2d 386 (6th Cir.), cert denied, 504 U.S. 945 (1992) (finding that the term

 “official detention” means “in custody,” thereby denying defendant released pretrial with

 restrictive conditions was entitled to credit). Mr. Sherman’s argument, that his counsel’s



                                               8
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 9 of 11. PageID #: 4544




 performance was constitutionally deficient in failing to request, from the Court, credit

 that was not legally available, is simply without merit.

        Similarly, Mr. Sherman’s further argument, that his counsel was ineffective for

 failing to seek a “downward departure” for the 10.5 months of pre-trial home

 confinement, is unpersuasive. Downward departure in this instance is unwarranted

 where home confinement is not punishment but, rather, a condition of bail pending trial.

 See Fraley v. Bureau of Prisons, 1 F.3d 924 (9th Cir. 1993); United States v. Hager, 288

 F.3d 136, 137 (4th cir. 2002).

        Finally, the Petitioner’s reliance upon the United States Sentencing Guidelines

 (U.S.S.G.) is similarly misplaced. Specifically, Mr. Sherman’s suggestion that U.S.S.G.

 § 5G1.3 – concerning the imposition of a sentence on a defendant subject to an

 undischarged term of imprisonment – applies to the instant matter is without merit. The

 provisions of, and Commentary to, § 5G1.3 distinctly apply to terms of imprisonment

 imposed in a separate proceedings not, as here, where the Petitioner’s sentence is the

 result of a single prosecution.



        Certificate of Appealability

        The Court declines to issue a certificate of appealability (“COA”). 28 U.S.C. §

 2253(c) provides:

        (c)(1) Unless a circuit justice or judge issues a certificate of appealability,
        an appeal may not be taken to the court of appeals from-
        (A) the final order in a habeas corpus proceeding in which the detention
        complained of arises out of process issued by a State court; or
        (B) the final order in a proceeding under section 2255.
        (2) A certificate of appealability may issue under paragraph (1) only if the
        applicant has made a substantial showing of the denial of a constitutional
        right.

                                               9
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 10 of 11. PageID #: 4545




        (3) The certificate of appealability under paragraph (1) shall indicate which
        specific issue or issues satisfy the showing required by paragraph (2).


 In Slack v. McDaniel, 529 U.S. 473 (2000), the Supreme Court determined that

        [t]o obtain a COA under § 2253(c), a habeas prisoner must make a
        substantial showing of the denial of a constitutional right, a demonstration
        that, under Barefoot, includes showing that reasonable jurists could
        debate whether (or, for that matter, agree that) the petition should have
        been resolved in a different manner or that the issues presented were
        ‘adequate to deserve encouragement to proceed further.’

 Id. at 483-4 (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

        If the claim is not procedurally defaulted, then a habeas court need only

 determine whether reasonable jurists would find the district court's decision “debatable

 or wrong.” Id. at 484. In instances where a claim is procedurally defaulted, a COA

 should only issue if “jurists of reason would find it debatable whether the petition states

 a valid claim of the denial of a constitutional right and that jurists of reason would find it

 debatable whether the district court was correct in its procedural ruling.” Id.




                                               10
Case: 5:05-cr-00131-JG Doc #: 1323 Filed: 07/16/08 11 of 11. PageID #: 4546




        Conclusion

        For the reasons set forth above, the Court finds Mr. Sherman has not shown the

 Court’s decision was “debatable or wrong” within the meaning of Slack. Accordingly,

 the Court declines to issue a certificate of appealability.

        Petitioner Mason Sherman’s motion to vacate, set aside, or correct his sentence,

 pursuant to 28 U.S.C. § 2255 is, hereby, denied.




        IT IS SO ORDERED.




                                               /s/Lesley Wells
                                            UNITED STATES DISTRICT JUDGE




                                              11
